
52 So.3d 829 (2011)
Calvin FELTON, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-4852.
District Court of Appeal of Florida, Fourth District.
January 26, 2011.
Calvin Felton, Miami, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Mark J. Hamel, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
We treat appellant's petition as a motion for post conviction relief under Florida Rule of Criminal Procedure 3.850 and affirm.
Affirmed.
GROSS, C.J., MAY and LEVINE, JJ., concur.
